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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                                                                           03/22/2022
                                                                                                KD
                                 CIVIL MINUTES -REOPENING/CLOSING

Case No. 2:19-cv-08182-MEMF-(AFMx)                                  Date March 22, 2022

Title: Blackstone Hamilton, et al. v. Tarek El Moussa, et al.

Present: The Honorable Maame Ewusi-Mensah Frimpong, U.S. District Judge




                     Kelly Davis                                            N/A
                   Deputy Clerk                                    Court Reporter / Recorder


Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                Not Present                                    Not Present




Proceedings:        G In Court         ✘ In Chambers
                                       G                   G Counsel Notified

G Case previously closed in error. Make JS-5.

✘ Case should have been closed on entry dated 3/21/2022 [74]
G                                                                            .

G Case settled but may be reopened if settlement is not consummated within                          days.
  Make JS-6.

G Other

G Entered                                     .




                                                                    Initials of Preparer       kd




CV-74 (10/08)                          CIVIL MINUTES -REOPENING/CLOSING
